                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:                                                      Case No. 13-53846

CITY OF DETROIT, MICHIGAN,                                  Chapter 9

            Debtor.                                         Judge Thomas J. Tucker
_________________________________/

   OPINION AND ORDER SUSTAINING THE CITY OF DETROIT’S OBJECTIONS
        TO THE CLAIMS OF “EMPLOYEE OBLIGATION CLAIMANTS”

         This case came before the Court for hearings, beginning with a hearing held on June 15,

2016, regarding numerous objections to claims filed by the City of Detroit. The claims relevant

to this Opinion and Order include the claims of numerous specific individuals (the “Adjourned

Claims”), the hearings on which were adjourned to June 15, 2016 by previous orders of the Court

(Docket ## 10941, 11035, 11054, the “Adjournment Orders”). The names of the claimants

involved are listed in the Court's Adjournment Orders. The City's objections to these Adjourned

Claims are contained in the following numbered omnibus claim objections filed by the City:

1. Debtor's Twentieth Omnibus Objections to Certain Claims (Docket # 10776)

2. Debtor's Twenty-Third Omnibus Objections to Certain Claims (Docket # 10779)

3. Debtor's Twenty-Fifth Omnibus Objections to Certain Claims (Docket # 10781)

4. Debtor's Twenty-Eighth Omnibus Objections to Certain Claims (Docket # 10784)

5. Debtor's Twenty-Ninth Omnibus Objections to Certain Claims (Docket # 10785)

6. Debtor's Thirtieth Omnibus Objections to Certain Claims (Docket # 10786)

7. Debtor's Thirty-First Omnibus Objections to Certain Claims (Docket # 10787)

8. Debtor's Thirty-Second Omnibus Objections to Certain Claims (Docket # 10788)

9. Debtor's Thirty-Third Omnibus Objections to Certain Claims (Docket # 10789)

10. Debtor's Thirty-Fourth Omnibus Objections to Certain Claims (Docket # 10790)

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11. Debtor's Thirty-Sixth Omnibus Objections to Certain Claims (Docket # 10811)

12. Debtor's Thirty-Seventh Omnibus Objections to Certain Claims (Docket # 10812)

(These claim objections are collectively referred to in this Opinion and Order below as the

“City’s Omnibus Claim Objections”).

       Confirming certain action taken during the June 15, 2016 hearing, and for reasons stated

by the Court on the record during the hearing, the Court entered an Order on June 16, 2016

(Docket # 11293, the “June 16 Order”), stating that with respect to the Adjourned Claims, the

City’s Omnibus Claim Objections were then submitted for decision by the Court. The June 16

Order also stated that:

                The Court intends to issue a written ruling after the Court learns
                whether or not the pending proposed settlement is finalized of the
                City's objections to the omnibus claims filed by the American
                Federation of State and County Municipal Employees and the
                Detroit Coalition of Unions.

(June 16 Order at 2.)

       Certain additional claims were added to the list of claims to be treated in the same way as

the Adjourned Claims, in two other orders entered by the Court on June 16, 2016 (Docket

## 11291, 11292). These concerned certain claims covered by the City’s Forty-Fourth and Forty-

Fifth Omnibus Objections to Claims (Docket ## 11162, 11163). Another claim (that of Renee

Tillman, Claim number 2482, whose claim was objected to as part of the City’s Forty-Fifth

Omnibus Objections) was added to the list by the Court’s Order filed June 20, 2016 (Docket

# 11301 at ¶ 2). Another claim (that of Stephanie Crews, Claim number 3072) was added to the

list by the Court’s Order filed September 9, 2016 (Docket # 11536 at ¶ 6). Additional claims

were added to the list by the Court’s Order filed June 24, 2016 (Docket # 11316 at ¶ 2.)

       All of these unresolved claims fall under the label of claims of “Employee Obligation


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Claimants,” as that term is used in the City’s Supplemental Brief filed on April 21, 2016 (Docket

# 11102). This Opinion and Order will refer to these claims in the same way, below. This

Opinion and Order constitutes the Court’s written ruling regarding the City’s objections to these

unresolved claims.

       For reasons the Court explained in detail during the June 15, 2016 hearing, and as

reflected in the Court’s June 16 Order quoted above, the Court deferred ruling on the City’s

objections to the claims of the Employee Obligation Claimants, until the settlement was finalized

“of the City's objections to the omnibus claims filed by the American Federation of State and

County Municipal Employees and the Detroit Coalition of Unions.” That settlement was

finalized in January 2017, as reflected by the Court’s Order filed on January 9, 2017, entitled

“Order Approving Stipulation Allowing Claims of AFSCME Council 25 and its Affiliated

Detroit Locals (Claim Number 2958) and the Coalition of Detroit Unions (Claim Number 2851)

as Class 14 Other Unsecured Claims in Reduced Amounts” (Docket # 11754, the “January 9

Settlement Order”).

       To facilitate the Court’s consideration and preparation of this written ruling, and to help

make sure the Court has a single, up to date list of all unresolved claims of such Employee

Obligation Claimants, the Court entered an Order on April 14, 2017 (Docket # 11849), requiring

the City to file such a list. The City timely filed such list, on April 28, 2017 (Docket # 11854).

A copy of that list is attached as Exhibit 1 to this Opinion and Order.

       The Court has considered all the written arguments and other papers filed by the City and

by the Employee Obligation Claimants, and the oral arguments of these parties. The Court finds

and concludes as follows.

       The City’s objections to the claims of the Employee Obligation Claimants are well-taken,


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and must be sustained. For the reasons argued by the City in Sections IV-A, IV-B, and IV-C

(pages 6-11) of the City’s April 21, 2016 Supplemental Brief (Docket # 11102), the Court finds

and concludes that the changes in employment terms made by the City and by the Emergency

Manager, upon which the claims are based, were all changes that were lawfully done. For this

reason, the Employee Obligation Claimants have no valid claims based on such changes having

been made. And to the extent the claims present claims that are treated under the confirmed plan

of adjustment, as PFRS Pension Claims or GRS Pension Claims, the claims are duplicative and

the claimants have only the rights given them by the confirmed plan with respect to such claims.

       In addition, the claim of Da’Nean Brooks (Claim No. 3383) will be disallowed, not only

for the above reasons, but also in part for the reasons stated by the Court on the record during the

June 15, 2016 hearing (Transcript (Docket # 11348) at p. 81). And the claim of JaJuan Moore

(Claim No. 2098) will be disallowed, not only for the above reasons, but also in part for the

reasons argued by the City in its supplemental brief filed July 15, 2016 (Docket # 11372).

       Accordingly,

       IT IS ORDERED that the claims of all the Employee Obligation Claimants, which are

listed on Exhibit 1 attached to this Opinion and Order, are disallowed in their entirety.

       IT IS FURTHER ORDERED that the City’s claims agent is authorized to update the

claims register in accordance with the terms of this Order.

       IT IS FURTHER ORDERED that this Order is without prejudice to, and does not affect

or impair, any rights or benefits that any of the Employee Obligation Claimants may have under

or because of the January 9 Settlement Order.

       IT IS FURTHER ORDERED that this Order is without prejudice to, and does not affect

or impair, any rights or benefits that any of the Employee Obligation Claimants may have under


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the confirmed plan of adjustment, as holders of PFRS Pension Claims or GRS Pension Claims.

       IT IS FURTHER ORDERED that the Court retains jurisdiction over any and all matters

arising from the interpretation or implementation of this Order.

       IT IS FURTHER ORDERED that no later than June 6, 2017, counsel for the City must:

(1) serve, by first-class mail, a copy of this Opinion and Order (with its Exhibit 1 attached) on all

claimants listed on Exhibit 1, and on Anthony Greene, attorney for claimants Da’Nean Brooks

and JaJuan Moore; and (2) file proof of such service.


Signed on June 2, 2017                                /s/ Thomas J. Tucker
                                                      Thomas J. Tucker
                                                      United States Bankruptcy Judge




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                                         EXHIBIT 1

             Claimant                   Claim No(s).         Omnibus Objection
                                                                   No.

Enos P. Walker                              2610                      20

Sheila Pennington                           3249                      25

Althea F. Phillips                          2325                      28
Dinah Bolton                                3522                      28
Andre R. Canty                              2096                      28
Antonio Domingo Ratliff                     3131                      28
Benjamin Hogue                              2598                      28
Carmelita Brown Bullock                     1654                      28
Da’Nean Brooks                              3383                      28

Eddie Greer                                 2536                      29
Harriett Cook                              1893                       29
Charles Huskey                             3402                       29
Corey Thomas                               1829                       29
Craig Steele                               3411                       29
Damon Osley                              3391, 3443                   29
Daris Howard                               2501                       29
Deirdre Green                            1894, 1896                   29

John Johnson                                1686                      30
Joseph Fields                               3482                      30
Kahlil Felder                               2743                      30
Kanard McClain                              3379                      30
Kathy L McCaskill                           1809                      30

Kevin Washington                           1996                       31
LaTonya Pennington                   2738, 2749, 2741,                31
                                           2745

Natalie Clemons                      1741, 2102, 2060,                32
                                        2061, 2074
Michael Cooper                             1979                       32




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             Claimant                   Claim No(s).         Omnibus Objection
                                                                   No.

Roderick French                             2842                      33
Stephanie Hogue                       3215, 3216, 3168                33
Vetonia Dorch                               1985                      33
Ronald Leapheart                            2001                      33
Sharon K. Jordan                            1817                      33


Teulaina Richardson                         3214                      34

Natalie Clemons                          1956, 2079                   36
Francine Duncan-Martin                     3144                       36
Aldrina Thomas                             2319                       36
Dwayne A. Brown                            2997                       36
JaJuan Moore                               2098                       36
Lenetta Walker                             2898                       36
Janice Clarke                               3467                      36
Lucille Pasha                            2077, 2084                   36

Sarah McCrary                               3122                      37
Ronald Branam Sr.                           3438                      37

Henry Wolfe III                             2258                      44
James Capizzo                               3193                      44
Gerald Moore                                2831                      44

Renee Tillman                               2482                      45
Stephanie Crews                             3072                      45




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